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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                             Chapter 11

    Lordstown Motors Corp., et al.,1                                  Case No. 23-10831 (MFW)

                                                                      (Jointly Administered)
                                                Debtors.

                                                                      Obj. Deadline: Mar. 7, 2024, at 4:00 p.m. (ET)
                                                                      Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

                 COVER SHEETS FOR SECOND INTERIM APPLICATION OF
               WHITE & CASE LLP FOR ALLOWANCE OF COMPENSATION AND
                 REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                 OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

       Name of Applicant:                                                                           White & Case LLP

       Authorized to Provide Professional Services to:                          Debtors and Debtors in Possession

       Date of Retention:                                                                     Effective June 27, 2023

       Period for Which Compensation and                                    October 1, 2023 – December 31, 2023
       Reimbursement Are Requested:

       Total Amount of Compensation (100%):                                                               $3,336,354.00

       Amount of Compensation Requested by Prior                                                          $2,669,083.20
       Monthly Fee Applications (80%):

       Amount of Compensation Held Back from Prior                                                          $667,270.802
       Monthly Fee Applications (20%):

       Total Amount of Expense Reimbursement:                                                                   $8,408.06

       Aggregate Amount of Compensation and                                                               $3,344,762.06
       Expense Reimbursement

This is an interim fee application.


1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
       Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
       Ct., Farmington Hills, MI 48331.
2      Assumes that the 80% requested by White & Case in its Sixth Monthly Fee Application will be paid in full.

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                                               MONTHLY FEE APPLICATIONS FILED

    (1)               (2)        (3)            (4)          (5)          (6)            (7)          (8)         (9)          (10)
                                                                Approved                                          Total Approved
                                   Requested                                               Holdback
                                                            On Monthly Basis                                     By Interim Order
  Date;      Period
                                Fees        Expenses        Fees        Expenses         Fees     Expenses       Fees        Expenses
   D.I.     Covered
9/13/2023 6/27/2023-
                            $2,296,617.00 $4,880.64 $1,837,293.60 $4,880.64 $459,323.40            $0.00     $2,296,617.00 $4,880.64
 D.I. 422   7/31/2023
10/20/2023 8/1/2023-
                            $1,923,539.00 $4,149.65 $1,538,831.20 $4,149.65 $384,707.80            $0.00     $1,923,539.00 $4,149.65
 D.I. 594   8/31/2023
11/10/2023 9/1/2023-
                            $1,313,604.00    $36.58     $1,050,883.20    $36.58    $262,720.80     $0.00     $1,313,604.00   $36.58
 D.I. 684   9/30/2023
11/30/2023 10/1/2023-
                            $1,654,153.00 $3,903.33 $1,323,322.40 $3,903.33        $330,830.60     $0.00         TBD          TBD
 D.I. 762  10/31/2023
1/12/2024 11/1/2023-
                            $989,463.00        $0.00    $791,570.40      $0.00     $197,892.60     $0.00         TBD          TBD
 D.I. 912  11/30/2023
2/13/2024 12/1/2023-
                            $692,738.00     $4,504.73       TBD           TBD            TBD          TBD        TBD          TBD
 D.I. 967  12/31/2023




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                                              SUMMARY OF TOTAL FEES AND HOURS
                                             BY ATTORNEYS AND PARAPROFESSIONALS

               Name             Title         Year                     Areas of Expertise                     Hours       Rate          Fees
                                             Admitted
      Cieply, Adam         Partner             2010     M&A - Corporate Practice                                 15.7   $1,460.00      $22,922.00
      Green, Jesse         Counsel             2007     Commercial Litigation Practice                          103.2   $1,310.00    $135,192.00
      He, Fan              Counsel             2007     Financial Restructuring & Insolvency (FRI) Practice     313.5   $1,310.00    $410,685.00
      Hirshorn, Deanna     Legal Assistant     N/A      Financial Restructuring & Insolvency (FRI) Practice      10.4    $380.00        $3,952.00
      Kampfner, Roberto    Partner             1995     Financial Restructuring & Insolvency (FRI) Practice     218.1   $1,590.00    $346,779.00
      Kaul, Sequoia        Associate           2018     Commercial Litigation Practice                          134.3   $1,060.00    $142,358.00
      Kim, Doah            Associate           2012     Financial Restructuring & Insolvency (FRI) Practice     196.7   $1,270.00    $249,809.00
      Lauria, Thomas       Partner             1987     Financial Restructuring & Insolvency (FRI) Practice       9.6   $2,100.00      $20,160.00
      Ludovici, Stephen    Associate           2014     Financial Restructuring & Insolvency (FRI) Practice      12.8   $1,240.00      $15,872.00
      Mezei, Livy          Associate           2017     Financial Restructuring & Insolvency (FRI) Practice     134.0   $1,020.00    $136,680.00
      Padmanabhan, Aditi   Associate           2023     Commercial Litigation Practice                           70.7    $740.00       $52,318.00
      Pryor, Gregory       Partner             1989     M&A - Corporate Practice                                 31.0   $1,950.00      $60,450.00
      Strom, Peter         Associate           2021     Financial Restructuring & Insolvency (FRI) Practice      68.3    $960.00       $65,568.00
      Szuba, RJ            Associate           2017     Financial Restructuring & Insolvency (FRI) Practice     393.9   $1,140.00    $449,046.00
      Turetsky, David      Partner             2003     Financial Restructuring & Insolvency (FRI) Practice     453.9   $1,750.00    $794,325.00
      Yoo, Jade            Associate           2020     Commercial Litigation Practice                           61.8   $1,020.00      $63,036.00
      Zakia, Jason         Partner             1999     Commercial Litigation Practice                          194.7   $1,750.00    $340,725.00
      Zhang, Shirley       Associate           2022     M&A - Private Equity Practice                            31.9    $830.00       $26,477.00
      Grand Total                                                                                             2,454.5               $3,336,354.00




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            STATEMENT OF FEES AND EXPENSES BY PROJECT CATEGORY

              Cat. No.           Project Category Description           Total Hours     Total Fees
              B01        Asset Analysis, Sale & Disposition                    220.8    $291,160.00
              B02        Automatic Stay Issues                                   0.0           $0.00
              B03        Avoidance Actions & Other Asset Recovery                0.0           $0.00
              B04        Business Operations, Vendor & Utility Issues           70.9      $99,563.00
              B05        Case Administration                                    34.3      $36,878.00
              B06        Case Strategy                                          71.8    $103,856.00
              B07        Claims Administration & Objections                    423.3    $497,458.00
              B08        Corporate Advice & Board Meetings                      54.6      $82,684.00
              B09        Creditor Meetings & Statutory Committees                2.5       $3,547.00
              B10        Disbursement                                            0.0           $0.00
              B11        Discovery                                               0.0           $0.00
              B12        Exclusivity, Plan & Disclosure Statement              964.5   $1,360,116.00
              B13        Executory Contracts & Unexpired Leases                 70.2      $87,310.00
              B14        First Day Pleadings                                     0.0           $0.00
              B15        Hearings & Court Matters                               52.0      $71,143.00
              B16        Insurance Issues                                       21.5      $32,851.00
              B17        Litigation                                            287.5    $415,771.00
              B18        Nonworking Travel                                       0.0           $0.00
              B19        Professional Retention & Fees – W&C                    24.5      $29,019.00
              B20        Professional Retention & Fees – Other                   5.7       $7,072.00
              B21        Reports, Schedules & U.S. Trustee Issues               53.6      $77,407.00
              B22        Tax Issues                                              0.4        $700.00
              B23        Employee Issues                                        96.4    $139,819.00
                                    Grand Total                              2,454.5   $3,336,354.00




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                                  EXPENSE SUMMARY

                               Category                 Amount
                               Business Meals              $35.92
                               Conference Room Dining    $411.06
                               Deposition Transcripts   $7,879.68
                               Printing                     $0.20
                               Taxi - Overtime             $46.20
                               Overtime Meals              $35.00
                               Grand Total              $8,408.06




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                          Chapter 11

    Lordstown Motors Corp., et al.,1                               Case No. 23-10831 (MFW)

                                                                   (Jointly Administered)
                                                Debtors.

                                                                   Obj. Deadline: Mar. 7, 2024, at 4:00 p.m. (ET)
                                                                   Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

                          SECOND INTERIM APPLICATION OF
               WHITE & CASE LLP FOR ALLOWANCE OF COMPENSATION AND
                 REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                 OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

             In accordance with the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket No.

181] (the “Interim Compensation Procedures”), White & Case LLP (“White & Case”),

attorneys for the debtors and the debtors in possession (collectively, the “Debtors”) in the above-

captioned chapter 11 cases, hereby files this second interim application (this “Application”) for

the period from October 1, 2023 to and including December 31, 2023 (the “Application Period”)

requesting (a) interim allowance and payment of $3,344,762.06, consisting of (i) compensation for

professional services to the Debtors in the amount of $3,336,354.00, representing 100% of the fees

earned by White & Case and for which White & Case is seeking compensation for professional

services to the Debtors during the Application Period, and (ii) reimbursement of 100% of the actual

and necessary expenses incurred by White & Case during the Application Period in connection

with such services in the amount of $8,408.06, without prejudice to White & Case’s right to seek


1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
       Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
       Ct., Farmington Hills, MI 48331.


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additional compensation for services performed and expenses incurred during the Application

Period, if any, which were not processed at the time of this Application, and (b) grant such other

and further relief as is just and proper. These amounts reflect voluntary reductions made by White

& Case before filing, in the aggregate, of $729,022.00 (~17.9%) in fees and $1,351.08 (~13.8%)

in expenses (and for which White & Case did not seek compensation or reimbursement as part of

its Monthly Fee Applications that covered the Application Period).

          Specifically, White & Case requests that the Court award interim allowance of the

compensation and reimbursement expenses that were the subject of the following Monthly Fee

Applications (as defined below) that covered the Application Period.

          On November 30, 2023, White & Case filed its fourth monthly fee application (the “Fourth

Monthly Fee Application”) for the period from October 1, 2023 to October 31, 2023 [Docket No.

762].      Pursuant to the Interim Compensation Procedures, White & Case has been paid

$1,327,225.73, representing $1,323,322.40 in fees (80% of the $1,654,153.00 of fees earned) and

$3,903.33 in expenses, and $330,830.60 in fees have been held back.

          On January 12, 2024, White & Case filed its fifth monthly fee application (the “Fifth

Monthly Fee Application”) for the period of November 2023 [Docket No. 912]. Pursuant to the

Interim Compensation Procedures, White & Case has been paid $791,570.40, representing

$791,570.40 in fees (80% of the $989,463.00 of fees earned) and $0.00 in expenses, and

$197,892.60 in fees have been held back.

          On February 13, 2024, White & Case filed its sixth monthly fee application (the “Sixth

Monthly Fee Application,” and together with the Fourth Monthly Fee Application and the Fifth

Monthly Fee Application, the “Monthly Fee Applications”) for the period of December 2023

[Docket No. 967]. While the objection period for the Sixth Monthly Fee Application under the


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Interim Compensation Procedures has not yet passed, should no objection be made, then White &

Case will be paid $558,695.13, representing $554,190.40 in fees (80% of the $692,738.00 of fees

earned) and $4,504.73 in expenses, and $138,547.60 in fees will have been held back.

          Details of White & Case’s fees and expenses for the Application Period are attached as

exhibits to White & Case’s Monthly Fee Applications, which have been filed at Docket Numbers

762 (Fourth Monthly Fee Application), 912 (Fifth Monthly Fee Application) and 967 (Sixth

Monthly Fee Application). Although White & Case has made every effort to include all fees

earned and expenses incurred during the Application Period, some fees and expenses might not

have been included in the applicable Monthly Fee Application or covered in this Application due

to delays caused by accounting and processing during the Application Period. White & Case

reserves the right to make further applications to this Court for allowance of such fees and expenses

not included herein. Subsequent fee applications will be filed in accordance with the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and the Compensation Procedures Order. For

similar reasons, some of the fees and expenses requested in this Application may have been earned

or incurred before the Application Period.

          As set forth in the Monthly Fee Applications and restated above, the compensation and

expense reimbursements that were the subject of the Monthly Fee Applications reflected voluntary

reductions made by White & Case before filing of, in the aggregate, $729,022.00 (~17.9%) in fees

and $1,351.08 (~13.8%) in expenses.

          Exhibits A, B, and C attached hereto contain certain schedules pursuant to the Appendix B

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”).




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          In addition, White & Case states as follows in response to the questions set forth in

paragraph C.5 of the U.S. Trustee Guidelines:

    1. Did you agree to any variations from, or alternatives to, your standard or customary billing
       rates, fees or terms for services pertaining to this engagement that were provided during
       the Application Period? If so, please explain.

               a. White & Case did not agree to any variations from, or alternatives to, its
                  standard or customary billing rates, fees, or terms for services pertaining to
                  this engagement.

    2. If the fees sought in this Application as compared to the fees budgeted for the time period
       covered by this Application are higher by 10% or more, did you discuss the reasons for the
       variation with the client?

               a. The fees sought in this Application as compared to the fees budgeted for the
                  time period covered by this Application are not higher by 10% or more.

    3. Have any of the professionals included in this Application varied their hourly rate based
       on the geographic location of the bankruptcy case?

               a. The professionals included in this Application did not vary their hourly rate
                  based on the geographic location of the bankruptcy case.

    4. Does the Application include time or fees related to reviewing or revising time records or
       preparing, reviewing, or revising invoices? (This is limited to work involved in preparing
       and editing billing records that would not be compensable outside of bankruptcy and does
       not include reasonable fees for preparing a fee application.) If so, please quantify by hours
       and fees.

               a. No. However, this Application does include time or fees for reviewing time
                  records to redact any privileged or other confidential information as discussed
                  in the answer to question 5 below.

    5. Does this Application include time or fees for reviewing time records to redact any
       privileged or other confidential information? If so, please quantify by hours and fees.

               a. Yes. This Application includes time or fees for reviewing time records to
                  redact any privileged or other confidential information in connection with the
                  preparation of White & Case’s Monthly Fee Applications relating to the
                  Application Period. White & Case is seeking compensation for approximately
                  6.0 hours and $6,796.00 in fees with respect to this point.

    6. If the Application includes any rate increases since retention:

               a. Did your client review and approve those rate increases in advance?


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                      i. There have been no rate increases since retention.

              b. Did your client agree when retaining the law firm to accept all future rate increases?
                 If not, did you inform your client that they need not agree to modified rates or terms
                 in order to have you continue the representation, consistent with ABA Formal
                 Ethics Opinion 11-458?

                      i. There have been no rate increases since retention.



                             [Remainder of Page Intentionally Left Blank]




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Dated: February 14, 2024                      Respectfully submitted,

                                              /s/David M. Turetsky
                                              WHITE & CASE LLP
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                                              Matthew C. Brown (admitted pro hac vice)
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